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                               THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO



     MIGUEL PRINCIPE,
         Plaintiff, Counter-Defendant,

             v.

     M 2 M GLOBAL CORP., et al.,
          Defendants, Counter-Plaintiffs

                                                                        Civil No. 17-2262 (ADC)
     INSIGHT COMMUNICATIONS CORP., et
     al.,
          Third Party Plaintiffs,

             v.

     OLYMPIC AGENCY, INC,
         Third Party Defendant.



                                            OPINION AND ORDER

          Before the Court are: (1) plaintiff Miguel Príncipe’s (“Príncipe”) motion to dismiss the

counterclaim, ECF No. 17; (2) defendants’ opposition to the motion to dismiss the counterclaim,

ECF No. 20, (3) third-party defendant Olympic Agency, Inc.’s (“Olympic”) motion for judgment

on the pleadings, ECF No. 38; 1 and third-party plaintiffs’ response to Olympic’s motion for

judgment on the pleadings, ECF No. 43. The Court now DENIES Príncipe’s motion to dismiss




1   Plaintiff Príncipe “has no objection to the dismissal of the Third-Party Complaint.” ECF No. 39.
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the counterclaim, ECF No. 17, and DENIES Olympic’s motion for judgment on the pleadings,

ECF No. 38.

I.      Factual and Procedural Background

        On October 27, 2017, Príncipe filed a complaint against M 2 M Global Corp. (“M2M”),

Insight Managing Solutions (“Insight”), Corp.; Insight Technologies, Corp.; Insight

Communications Corp.; Víctor García-Porrata; Neftalí Bernard-Rosado; Traksecure Corp.; and

unknown defendants. ECF No. 1. The complaint alleges that the defendants: violated the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001-1461, as

amended by the Consolidated Omnibus Budget Reconciliation Act (“COBRA”), 29 U.S.C. §§

1161-1168, by failing to provide Príncipe with the required notice of entitlement to continued

health coverage upon his termination of employment with defendants; improperly deprived

Príncipe of employment benefits by classifying Príncipe as an independent contractor instead

of an employee; owe Príncipe salary and commissions because they breached their contract with

Príncipe; and owe Príncipe damages under ERISA, COBRA, and several Puerto Rico laws. 2

        On December 18, 2017, defendants M2M, Insight Managing Solutions Corp., Insight

Technologies Corp, Insight Communications Corp., Victor García-Porrata, and Neftalí Bernard-



2 Príncipe invokes the Court’s federal-question jurisdiction over his ERISA and COBRA claims. Príncipe also
invokes the Court’s supplemental jurisdiction, 28 U.S.C. § 1367, over the Puerto Rico law claims, which include
Puerto Rico Law No. 80 (“Law 80”), P.R. Laws Ann. tit. 29, § 185a et seq.; Articles 1044, 1054-1060, of Puerto Rico’s
Civil Code, P.R. Laws Ann. tit. 31, §§ 2994 and 3018-3024; Articles 1802 and 1803 of the Puerto Rico Civil Code, P.R.
Laws Ann. tit. 31, §§ 5141 and 5142; and Sections 1, 8 and 16 of the Bill of Rights of the Constitution of the
Commonwealth of Puerto Rico.
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Rosado (collectively, “defendants”); 3 answered the complaint and filed a counterclaim against

Príncipe for collection of monies, violation of a non-disclosure agreement, contractual

interference, collusion, and breach of the fiduciary duties of an insurance broker. ECF No. 15.

        On January 4, 2018, Príncipe filed a motion to dismiss defendants’ counterclaim for lack

of subject-matter jurisdiction, arguing that the counterclaim is a permissible counterclaim over

which the Court lacks an independent basis for jurisdiction. ECF No. 17. Príncipe also argues

that defendants’ counterclaim is improper under Federal Rule of Civil Procedure 13 because the

counterclaim explicitly alleges that Olympic—a health insurance company that at that point was

not a party—is liable for the damages that defendants assert, yet defendants did not file a third-

party complaint against Olympic. Id.

        On January 4, 2018—the same day that Príncipe filed the motion to dismiss—defendants

filed a third-party complaint against Olympic. ECF No. 18. The third-party complaint alleges

that Insight Communications Corp. hired Olympic to handle all COBRA and ERISA compliance

matters, “including the notification of COBRA offering to any and all eligible participant[s]

which [sic] relationship had been terminated.” Id. at 6. The third-party complaint further alleges

that Olympic breached its contract with Insight when it allegedly failed to notify Príncipe of his

COBRA rights, and, as a result, Olympic is liable to Príncipe for any damages that the Court

may award for the alleged ERIA and COBRA violations.


3 The Court distinguishes between Traksecure Corp. and the other named defendants because Traksecure Corp.
filed a separate answer to the complaint and did not join third-party plaintiffs’ counterclaim against Olympic. ECF
No. 16.
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       On June 22, 2018, Olympic moved the Court to enter judgment on the pleadings and

dismiss the third-party complaint, with prejudice. ECF No. 38. In sum, Olympic argues that

“even taking as true the COBRA and ERISA violations asserted” in the complaint, defendant

Insight was solely responsible for notifying Príncipe, or any other participant, of his rights or

benefits under COBRA and ERISA. Id. at 2.

II.    Príncipe’s motion to dismiss the counterclaim

       Príncipe first argues that defendants’ counterclaim should be dismissed because Federal

Rule of Civil Procedure 13 “unambiguously provides for counterclaims exclusively against an

opposing party,” but Olympic is not a party to this action. ECF No. 17 at 4. However, the same

day that Príncipe filed its motion to dismiss the counterclaim, defendants filed a third-party

complaint against Olympic, thus joining Olympic. See ECF No. 18. Furthermore, the

counterclaim only names Príncipe as counter-defendant. Thus, defendants’ third party

complaint moots this argument for dismissal, as Olympic is now a party in the case.

       Príncipe’s second argument for dismissal is that the Court lacks subject-matter

jurisdiction over the counterclaim because it is a permissive counterclaim—rather than a

compulsory counterclaim—over which the Court lacks an independent source of jurisdiction

because “it involves different statutes, a different set of facts, different evidence, and different

parties.” ECF No. 18 at 7.

       Defendants reply that their counterclaim is a compulsory counterclaim. ECF No. 20 at 3-

6. They further argue that, if the Court were to deem their counterclaim a permissive
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counterclaim, current case law from the Court of Appeals for the First Circcuit has superseded

the requirement that the Court have an independent basis of jurisdiction over a permissive

counterclaim. Instead, the Court’s jurisdiction over a permissive counterclaim is governed by

the supplemental jurisdiction statute, 28 U.S.C. § 1367, in the same manner as a compulsory

counterclaim. ECF No. 20 at 6-9. 4

        Before the supplemental jurisdiction statute was enacted in 1990, “Some decisions . . .

adopted a rule that federal courts could exercise supplemental jurisdiction over compulsory but

not permissive counterclaims,” unless the court had independent federal jurisdiction over the

permissive counterclaim. Glob. NAPs, Inc. v. Verizon New England Inc., 603 F.3d 71, 85–86 (1st Cir.

2010) (citations omitted). However, the enactment of the supplemental jurisdiction statute

“[abolished] the conceptual framework underpinning the old compulsory-permissive

counterclaim distinction,” Id. at 87. Instead, “Article III’s case-or-controversy standard is the

jurisdictional limit for counterclaims.” Id. (citations omitted).

        Under the supplemental jurisdiction statue, a district court has “supplemental

jurisdiction over all other claims that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under Article III of the United

States Constitution.” 28 U.S.C. § 1367. Although the meaning of “case and controversy” in




4Defendants’ opposition to Príncipe’s motion to dismiss the counterclaim is not a model of clarity. They incorrectly
cite the supplemental jurisdiction statute as 18 U.S.C. § 1367—which governs “Interference with the operation of a
satellite”—and their response seems to cite case law without properly identifying its sources. See ECF No. 20 at 9
(writing “In so doing, we hold that . . .” without identifying the proper source).
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Article III is a difficult question, in assessing whether a claim is part of the same case under

Article III, courts look to “whether the claims arose ‘from a common nucleus of operative fact.’”

Glob. NAPs, Inc., 603 F.3d at 88 (quoting United Mine Workers v. Gibbs, 383 U.S. 715, 725, (1966)).

See also TC Investments, Corp. v. Becker, 733 F.Supp.2d 266, 285-86 (D.P.R. June 28, 2010)

(recognizing the complexity in applying the case and controversy standard). That is,

“considered without regard to their federal or state character, a [party’s] claims are such that he

would ordinarily be expected to try them all in one judicial proceeding.” Gibbs, 383 U.S. at 725.

       Here, defendants’ counterclaims form part of the same case or controversy as Príncipe’s

claims, some of which are also subject to the Court’s supplemental jurisdiction under 28 U.S.C.

§ 1367. The counterclaim lists three causes of action. The first cause of action is for collection of

monies, alleging that Príncipe owes them restitution for the commissions they advanced but that

he never earned. ECF No. 15 at 13. This cause of action is intimately related to Príncipe’s fifth

cause of action: that defendants failed to pay Principe salary, commissions and dividends that

he had earned while working for defendants. ECF No. 1 at 19.

       The second counterclaim alleges that, after the termination of his employment, Príncipe

contacted several of defendants’ clients and provided them with confidential information and

trade secrets in order to induce the clients to cancel or not renew their contracts with defendants.

ECF No. 15 at 14. This cause of action shares a common nucleus of operative fact with Príncipe’s

sixth cause of action, in which he claims that defendants defamed him after his employment

was terminated by making comments to third parties that “affected his reputation with clients,
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customers, business partners, and in the industry that [Príncipe] was involved.” ECF No. 1 at

20.

       The counterclaim’s third cause of action alleges that Príncipe was responsible for

notifying Olympic when a health plan participant was terminated so that Olympic could

properly notify that person of his rights and benefits under COBRA and ERISA. ECF No. 15 at

15. The counterclaim further alleges that Príncipe breached this duty when he failed to notify

Olympic of his own termination. Id. This cause of action shares a common nucleus of operative

fact with Príncipe’s first and second causes of action—the essence of his complaint and the basis

of the Court’s jurisdiction—which allege that defendants violated ERISA and COBRA by failing

to adequately inform Príncipe of his entitlement to continued coverage after termination. ECF

No. 1 at 11-17. The counterclaim simply alleges that it was Príncipe who was responsible for

notifying his own termination of employment.

       All three of defendants’ counterclaims share a common nucleus of operative facts, and

judicial economy strongly favors that all these claims be tried together. The Court thus finds

that it has supplemental jurisdiction over defendants’ counterclaims. Príncipe’s motion to

dismiss the counterclaims, ECF No. 17, is DENIED.

III.   Olympic’s motion for judgment on the pleadings

       “After the pleadings are closed––but early enough not to delay trial––a party may move

for judgment on the pleadings.” Fed. R. Civ. P. 12(c). “The standard of review of a motion for

judgment on the pleadings under Federal Rule of Civil Procedure 12(c) is the same as that for a
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motion to dismiss under Rule 12(b)(6).” Marrero–Gutiérrez v. Molina, 491 F.3d 1, 5 (1st Cir. 2007).

The reviewing court must accept “all of the non-moving party’s well-pleaded facts as true and

draw all reasonable inferences in his favor.” Rezende v. Ocwen Loan Servicing., LLC, 869 F.3d 40,

42 (1st Cir. 2017) (citation omitted). The Court need not, however, “accept the complaint

wholesale; ‘bald assertions’ and ‘unsupportable conclusions’ are properly disregarded.” Butler

v. Deutsche Bank Trust Co. Americas, 748 F.3d 28, 32 (1st Cir. 2014) (quoting Aulson v. Blanchard,

83 F.3d 1, 3 (1st Cir. 1996) (noting that the court reviewing a motion to dismiss is not required

“to swallow the plaintiff’s invective hook, line, and sinker; bald assertions, unsupportable

conclusions, periphrastic circumlocutions, and the like need not be credited”)). Dismissal on the

pleadings is warranted “if it appears that the nonmovant could prove no set of facts that would

entitle him or her to relief.” Díaz-Nieves v. United States, 858 F.3d 678, 689 (1st Cir. 2017) (citation

omitted) (likening a rule 12(c) analysis to a rule 12(b)(6) analysis).

       The third-party complaint alleges that M2M and Insight (“third-party plaintiffs”)

contracted Olympic to serve “as a consultant on all compliance matters regarding its health

insurance plan,” and Olympic “was in charge of providing all COBRA right notifications to all

eligible participants of Insight [sic] health insurance plan.” ECF No. 18 at 3-4. The third-party

complaint thus charges that “Olympic . . . did not properly comply with their responsibility to

notify Príncipe, [and] they shall be held responsible for any and all payments that Insight is

ordered to pay for said alleged violation.” Id. at 4.
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       Olympic moves the Court to enter judgment on the pleadings of the third-party

complaint pursuant to Federal Rule of Civil Procedure 12(c) and dismiss the complaint, with

prejudice, on the grounds that it was “never designated, delegated nor engaged by Insight,

expressly or implicitly, to act as Plan Administrator of its health and welfare plan.” ECF No. 38

at 2. Olympic argues that “even taking as true the COBRA and ERISA violations asserted by

[Príncipe], Olympic was not required to notify [Príncipe] of his rights and benefits under

COBRA and ERISA. . . .“ Id. Instead, Olympic argues that, because Insight was designated as

the sole plan administrator, sponsor, and fiduciary, Insight was responsible for notifying

Príncipe of those benefits. Id. Olympic also moves the Court to deem the Plan Document and

the Summary Plan Description (“SPD”) that Insight provided to its employees as incorporated

in the complaint, and to consider the SPD when adjudicating the motion for judgment on the

pleadings. ECF No. 38 at 3-5.

       “When the complaint relies upon a document, whose authenticity is not challenged, such

a document ‘merges into the pleadings’ and the court may properly consider it under a Rule

12(b)(6) motion to dismiss.” Alternative Energy, Inc. v. St. Paul Fire & Marine Ins. Co., 267 F.3d 30,

33 (1st Cir. 2001). The third party plaintiffs do not oppose Olympic’s argument that the SPD is

incorporated into the complaint, and the Court finds that it is incorporated into the third-party

complaint. Thus, the Court will consider it in adjudicating Olympic’s motion for judgment on

the pleadings.
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       In their response to Olympic’s motion for judgment on the pleadings, third-party

plaintiffs allege a litany of facts about their contracts with Olympic which they did not declare

in the complaint. See ECF No. 43 at 2-8. They also submitted nine exhibits in support of their

opposition to Olympic’s motion for judgment on the pleadings. ECF Nos. 43-1 to 43-9. However,

they do not argue that these exhibits are incorporated into the complaint, and the Court will not

consider them in adjudicating Olympic’s motion. A response in opposition to a motion for

judgment on the pleadings is unmistakably the improper vehicle in which to amend the

complaint to include additional facts. In adjudicating a motion for judgment on the pleadings,

the Court will not make factual findings, and will instead evaluate the facts alleged within the

four corners of the complaint in the light most favorable to plaintiff. See Young v. Lepone, 305

F.3d 1, 11 (1st Cir. 2002). The Court will not consider facts alleged for the first time in a response

to a motion for judgment on the pleadings.

       Nonetheless, the SPD does not support Olympic’s arguments for dismissal. Despite third-

party plaintiffs’ failure to adequately oppose the motion for judgment on the pleadings, “the

mere fact that a motion [for judgment on the pleadings] is unopposed does not relieve the

district court of the obligation to examine the complaint itself to see whether it is formally

sufficient to state a claim.” Vega-Encarnación v. Babilonia, 344 F.3d 37, 41 (1st Cir. 2003). The SPD

is merely an informational pamphlet given to employees or plan participants to inform them of

the plan’s benefits. It is not an insurance policy or a binding contract between any parties, and
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does not shed light on the existence or extent of any contractual relationship between Olympic

and third-party plaintiffs, as alleged in the third-party complaint.

       In sum, third-party plaintiffs have filed a complaint that survives Olympic’s motion for

judgment on the pleadings. The complaint clearly alleges that Insight contracted with Olympic;

that Olympic was responsible for notifying Príncipe of his COBRA benefits upon his

termination; and that Olympic did not fulfill this obligation. Furthermore, the SPD incorporated

into the complaint does not release Olympic from the responsibilities alleged in the complaint.

Olympic must wait until discovery produces the insurance contract or other evidence that

shows its responsibility, or lack thereof, to notify Príncipe of his COBRA benefits upon his

termination. Accordingly, Olympic’s motion for judgment on the pleadings, ECF No. 38, is

DENIED.

IV.    Conclusion

       In light of the above, Príncipe’s motion to dismiss the counterclaim, ECF No. 17, is

DENIED. Olympic’s motion for judgment on the pleadings, ECF NO. 38, is DENIED.

Furthermore, ECF No. 40 is GRANTED, ECF No. 41 is DENIED, ECF No. 44 is GRANTED,

ECF No. 45 is DENIED, ECF No. 47 is GRANTED, and ECF No. 48 is GRANTED.

       SO ORDERED.

       At San Juan, Puerto Rico, on this 28th day of September, 2018.

                                                   S/AIDA M. DELGADO-COLÓN
                                                   United States District Judge
